 Case 6:19-cv-01456-CEM-EJK Document 1 Filed 03/20/18 Page 1 of 13 PageID 1




                              UN ITED STATES DISTRICT                           FILED by            D.c.

                             CO U RT SO UTH ERN DISTRICT                          MAF 22 2212
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                                                                                                ISTX:NTl.
Case No.                  -Civ

                                                                     JURY TRIAL DEM AN DED
Jeffrev PeterDatto,Ph.D.
                                      Plaintiff
       VS.


Association ofAm erican M edicalColleges,
DrexelUniversity,Tem ple University,
Ohio State University,Lom a Linda University,
Florida Atlantic University,University of Florida,
Florida State University,University ofSouth Florida,
University ofCentralFlorida,Florida International
Universitv,John Does 1-50
                                      Defendants


                                         CO M PLA INT
       1,Jef-frevP.Datto.Ph.D.,plaintift intheabovestyledcause,suedefendantts):Association
ofAm erican M edicalColleges and DrexelUniversitv,Tem nle Universitv,Ohio State Universitv,

Lom a Linda Universitv,Florida Atlantic Universitv.Universitv of Florida,Florida State Universitv,

Universitv of South Florida, Universitv of Central Florida, Florida lnternational Universitv,

(collectivelv ''Universitv defendantf')andJohn Does1-50.

       Thisaction isfiled underTitle ll,Title 111,and Title IV ofthe Am erican w ith DisabilitiesAct,

42U.S.C.1201etseq.,(''ADA''),theRehabilitation Actof19739504,29U.S.C.A.9794 (''Rehab
Act''),the RehabActantiretaliationregulation,34C.F.R.j100.7(e),andFloridaCivilRightsAct,

FLStat û760etseq.(''FCRA'').Insupportofthiscomplaint,plaintiffaversasfollows:
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                                       Parties


    Plaintiff,JeffreyP.Datto,Ph.D.,(''plaintiff''or''Datto'')isacompetentadultover18who
    resides in M iam i-Dade County.

 2. Defendant,AssociationofAmericanMedicalColleges(''AAMC''),isanorganizationwhose
    principallocation is 655 K St NW Ste 100,W ashington,DC 20001.

 3. DrexelUniversity's (''DrexeI'')College ofMedicine isa private medicalschoolthatisa
    m emberoftheAAM C and isIocated at2900W .Queen Lane,Philadelphia,PA 19129.

    TempleUniversity's(''TempIe'')LewisKatzSchoolofMedicineisaprivatemedicalschool
    thatreceives som e public funding that is a m em berofthe AAM C and is Iocated at 3500

    N.Broad St.,Philadelphia,PA 19140.

 5. Ohio State University's(''OSU'')CollegeofMedicine isapublicmedicalschoolthatisa
    m em berofthe AAM C and is Iocated at9th Ave.Colum bus,OH 43210.

 6. LomaLindaUniversity's(''LLU'')SchoolofMedicine isa private medicalschoolthatisa
    m em berofthe AAM C and is located at 11175 Cam pusSt.,Lom a Linda,CA.92350.

    FloridaAtlantic University's(''FAU'')CharlesE.SchmidtCollege ofMedicine isa public
    m edicalschoolthat is a m em berofthe AAM C and is Iocated at 777 Glades Road Boca

    Raton,FL 33431.

 8. University of Florida's (''UF'')College of Medicine is a public medicalschoolthatis a
    m em berofthe AAM C and isIocated at 1600 SW ArcherRd # M 509,Gainesville,FL32610.

 9. FloridaStateUniversity's(''FSU'')CollegeofMedicineisapublicmedicalschoolthatisa
    m em berofthe AAM C and is Iocated at 1115 W est CallStreetTallahassee,FL32306-

    4300.
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 10.University ofSouth Florida's (''USF'')MorsaniCollege ofMedicine isa public medical
    schoolthatisa m em berofthe AAM C and is Iocated at 12901 Bruce B Dow nsBlvd,Tam pa,

    FL 33612.

 11.UniversityofCentralFlorida's(''UCF'')CollegeofMedicineisapublicmedicalschoolthat
    isa m em berofthe AAM C and is Iocated at6850 Lake Nona Blvd,O rlando,FL32827.

 12.FloridaInternationalUni
                          versity's(''FIU'')HerbertWertheim CollegeofMedicineisapublic
    m edicalschoolthat is a m em berofthe AAM C and is Iocated at 11200 SW 8th St# Ahcz,

    M iam i,FL 33199.

 13.Defendants John Does 1 through 50 are currently unidentified defendants w ho are

    m em bers ofthe adm issions com m ittee ofthe University defendants orare m em bersof

    the AAM C.

                                   Jurisdiction and Venue


 14.Plaintiffhereby incorporates paragraphs 1-13 as ifsam e w ere setforth herein at Iength.

 15.Plaintiffbrings this com plaint,in part,under2 federallaw s:the ADA and the Rehab Act.

 16.Plaintiff,a resident of M iam i-Dade County,Florida,paid an online application fee w hile

    Iiving in M iam i-Dade County to the AAM C and each University defendant to be fairly

    evaluated and considered foradm ission to theirm edicalschoolprogram s.

 17.Each University defendant and the AAM C consistently and yearly collectapplication fees

    from num erous Florida residentsw ho apply to theirprogram s.


                                           FACTS


 18.Plaintiffhereby incorporatesparagraphs 1-17 asifsam e w ere setforth herein atIength.
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 19.Plaintiffw asa form erM D PhD studentatThom asJefferson Universi
                                                                   ty in Philadelphia,PA.

 20.Thom as Jefferson University is a m em berofthe AAM C and sisterm edicalschoolofthe

     University defendants.

 21.Previously,plaintif filed an ADA and Rehab Actcom plaintin federalCourtagainstThom as

    Jefferson University,in part,claim ing discrimination forbeing perceived as having the

    disability BipolarDisorderby the University.

 22.Thom aslefferson University hasclaim ed through theirexpertsbecause ofthe seriousness

    ofthis disability and plaintiff's Iack ofinsight into having this disability,thatthe plaintiff

    would not be able to be successfulasa m edicalstudentand future clinician.

 23.Defendants w ere influenced by the actions of Thom as Jefferson University and also

    perceive plaintiff to have the disabili
                                          ty bipolar disorder or som e other serious m ental

    illnessthat prevented his com pletion ofm edicalschoolatThom asJelerson University.

 24.Plaintiff applied to each University defendant m edical school through the AAM C'S

    centralized application service and paid the required fee.

 25.Each University defendant then sent plaintifftheirow n personalsecondary application,

    w hich required a second and separate fee.

 26.Plaintiff filled out each schools secondary application, paid the second required fee to

    each defendant,and subm itted to each schooltheirrespective application.

 27.Follow ing successful com pletion of this required application process, the University

    defendants did not accept him and m ost did not even offeran interview to the plaintiff

    foradm ission.

 28.Plaintiffisotherw ise qualified foradm ission to each defendantm edicalschool.
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 29.The University defendants'actions,to notaccept plaintifforeven offerhim an interview,

    are also in retaliation to the fact the plaintiff sued their sister AAM C m edicalschool

    Thom asJefferson University and they do notw ant him theirbecause ofthis.




                            CO UNT 1-BREACH O F CO NTRACT

                                  Datto v.AIIDefendants

 30.Plaintiffhereby incorporates paragraphs 1-29 as ifsam e were setforth herein atIength.

 31.The University defendantsoffered to the plaintiffthe potentialabilityto befairly and non-

    discrim inatively evaluated foracceptance into theirm edicalschoolin exchange forfilling

    outtheirapplication and paying the application fee.

 32.The plaintiffaccepted thatofferand in consideration filled outthe requested application

    and paid the requested fee.

 33.This established a contractbetw een plaintiffand each individualdefendant.

 34.This contractw as breached w hen the defendants discrim inated against the plaintiffand

    did notaccept,noreven interview the plaintiff.


    W HEREFORE,plaintiff,Jeffrey Peter Datto,Ph.D., requests judgment in his favorand

 againstaIIdefendants in an amountin excessof$75,000,punitive damages,reasonable

 attorneyfees,Iitigationexpensesand costs,and anyotherrelief,includinginjunctiverelief,
 thatthisCourt deem s appropriate.
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                 CO UNT 11- AM ERICAN W ITH DISABILITIES ACT-TITLE 11

                    Datto v.OSU,FAU,FIU.FSU,UF,UCF,and Tem ple

 35.Paragraphs 1 through 34 are incorporated by reference as if the sam e were set forth

     herein at length.

 36.Plaintiffbrings forth this claim pursuant Title 11ofthe Am erican w ith Disabilities Act,42

     U.S.C.1201etseq-,(''ADA'').
 37.UnderTitle 11ofthe ADA,''no qualified individualw ith a disability shall,by reason ofsuch

    disability, be excluded from participation in or be denied the benefits of the services,

     programs,oractivitiesofa publicentity,orbesubjectedto discrimination byanysuch
    entity.''42 U.S.C.A j 12132.

 38.Defendants perceived plaintiff as having the disability,Bipolar Disorder,orsom e other

    serious m entalillness.

 39.Defendants are holding against plaintif'
                                           fthe past effects of m edications to treat Bipolar

    Disorder,w hich caused him to have a disability,in their decision to not adm it him as a

    m edicalstudent.

 40.Plaintiff's refusalto be treated forBipolarDisorder,w hich he w asdiagnosed to be by the

    schoolpsychiatrist atThom asJefferson University,concernsthem and has caused them

    to exclude plaintifffrom participation in theirschoolas a m edicalstudent.

 41.Title 11 of the ADA, 42 U.S.C. jj 12131-12165, legislates against various forms of

    discrim ination against a public entity. A ''public entity'',in turn,is defined,in relevant

    part,as 'any departm ent,agency,specialpurpose district,or otherinstrum entality ofa

    StateorStatesorIocalgovernrnent.''42U.S.C.A j12131(1)(B).
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 42.Being the m edicalschools of the state ofOhio and Florida,respectively,OSU,FAU,FIU,

    FSU,UF,UCF,and USF are instrum entalitiesofthe State and thusare public entities.

 43.Tem ple being a private m edical school that receives funding from the state of

    Pennsylvania and offers in-state tuition to Pennsylvania residentsisan instrum entality of

    the State of Pennsylvania and thus a public entity.

 44.Due to the aforem entioned facts, OSU, FAU, FIU, FSU,UF, UCF, USF, and Tem ple are

    covered entities underTitle 11ofthe ADA and have violated plaintiff'srights underTitle 11

    ofthe ADA by discrim inating againsthim based upon a disability.

 45.This violation ofTitle 11ofthe ADA has resulted in a significantdelay in plaintiff's career

    asa physician scientist,Iossofreputation,and em otionaldistress.


    W HEREFORE,plaintiff,Jeffrey PeterDatto,Ph.D.,requestsjudgmentin hisfavorand

 againstaIIdefendants in an amountin excessof$75,000,punitive damages,reasonable
 attorneyfees,Iitigation expensesandcosts,injunctive reliefrequiring eachm edicalschoolto
 setreasonable conditions,w hich if m et,w ould result in plaintif's ability to enrollinto their

 m edicalschools,and also plaintiffrequestsany otherrelief,including additionalinjunctive
 relief,thatthis Courtdeem s appropriate.



                 CountIII- AM ERICAN W ITH DISABILITIES ACT - TITLE III

                       Datto v.Drexel,Tem ple,FAU.O5U.and LLU

 46.Paragraphs 1 through 45 are incorporated by reference as if the sam e were set forth

    herein atIength.

 47.Plaintiffbringsforth thisclaim pursuantTitle IIIofthe ADA.
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 48.UnderTitle IIlof ADA,''No individualshallbe discrim inated against on the basis of

    disability in the full equal enjoym ent of the goods, services, facilities, privileges,

    advantages,or accom m odations of any place of public accom m odation by any person

    whoowns,Ieases(orIeasesto),oroperatesaplaceofpublicaccommodation.''42.U.S.C.

    j12182(a).
 49.Drexel,Tem ple,FAU,OSU,and LLU are placesofpublic accom m odation.

 50.Due to the aforem entioned facts,Drexel,Tem ple,FAU,OSU,and LLU are covered entities

    underTitle IIIofthe ADA and have violated plaintiff's rights underTitle IIlofthe ADA by

    denyingadmissiontotheirmedicalschoolsdueto adisability/perceiveddisability.
 51.This violation has im peded plaintiffin his ability to finish his m edicaleducation.

    W HEREFORE,plaintiff,Jeffrey Peter Datto,Ph.D., requests judgment in his favor and

 againstDrexel,Temple,FAU,OSU,andLLU andinjunctivereliefrequiringeachmedicalschool
 to setreasonable conditions,w hich ifm et,would resultin plaintiff'sability to enrollinto their

 medicalschools,and also plaintiffrequests any otherinjunctive reliefthis Courtdeems
 appropriate.


                     COUNT IV - SEG IO N 504 REHABILITATION AW

                                  Datto v.AIIDefendants

 52.Paragraphs 1 through 51 are incorporated by reference as if the sam e w ere set forth

    herein atIength.

 53.Plaintiff brings forth this action pursuantto the Rehabilitation Actof 1973 9 504,29

    U.S.C.A.j794 (''RehabAct'').
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 54.The Rehab Act prevents discrim ination against a disability by any program receiving

    Federalfinancialassistance ''solely''due to a disability.

 55.Each University defendant receives federalfinancialassistance through student Ioans,

    NationalInstitutespfHeaIth,and Departm entofDefense.

 56.Each University defendqnt if they are not retaliating against him for suing Thom as

    Jefferson University in the pastthen they are solely discrim inating againsthim due to the

    perceived disability Bipolar Disorder or the actualdisability the m edications to treat

    BipolarDisordercaused.

 57.Due to the aforem entioned facts,the University defendants are covered enti
                                                                              ties under

    the Rehab Act and have violated plaintiff's rights underthe Rehab Act by discrim inating

    against him based upon a disability.

 58.Thisviolation ofthe Rehab Acthas resulted in a significant delay in plaintiff's careeras a

    physician scientist,loss ofreputation,and em otionaldistress.

    W HEREFORE,plaintiff,Jeffrey Peter Datto,PN.D.,requests judgment in his favor and

 againsteach Universi
                    ty defendant in an amount in excessof$75,000,punitive damages,
 reasonable attorney fees, Iitigation expenses and costs, and any other relief, including

 injunctive relief,thatthisCourtdeemsappropriate.

                  CO UNT V -REHABILITATIO N ACT ANTI-RETALIATIO N

                                 Datto v.AIIDefendants

 59.Paragraphs 1 through 58 are incorporated by reference as if the sam e w ere set forth

    herein atIength.
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  60.Plaintiff brings forth this action pursuant to the Rehabilitation Act anti retaliation

     regulation,34C.F.R.j100.7(e).

  61.The RehabilitationAct'santi-retaliation regulationprovidesthat''(n)o recipientorother
     person shallintim idate,threaten,coerce,or discrim inate against any individualforthe

     purposesofinterferingwithanyrightorprivilegesecuredbyitheAct),orbecausehehas
     m ade a com plaint,testified,assisted,orparticipated in any m annerin an investigation,

     proceeding,orhearing...''34 C.F.R.j100.7(e).
  62.Plaintifffiled a Rehabilitation Act com plaint against Thom as Jefferson University in the

     past.

  63.He received a sizable m onetary settlem entforhisclaim s.

  64.Plaintiffhas been told the reason he hasbeen denied adm ission at som e ofthe m edical

     schoolshe applied to is because he sued Thom asJefferson University.

  65.This violation of the anti-retaliation regulation of the Rehab Act by All University

     defendants because they aII have held against plaintiff his past Rehab Act com plaint

     againstThom aslefferson University hasresulted in a significantdelay in plaintiff'scareer

     asa physician scientist,Iossofreputation,and em otionaldistress.

  66.Furtherdiscovery isrequiredtofigureoutexactlywhichpersons(JohnDoes1-50)atthe
     Universities have been responsible of said violations ofthe anti-retaliation regulation of

     the Rehab Act.

     W HEREFORE,plaintiff,Jeffrey Peter Datto,Ph.D.,requestsjudgment in hisfavor and

  against alldefendants in an amountin excess of$75,000,punitive damages,reasonable
  attorney fees,Iitigation expenses and costs,injunctive relief to end their discriminatow
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  practices,and anyotherrelief,including additionalinjunctive relief,thatthisCourtdeems
  appropriate.




                  COUNT VI- AM ERICAN W ITH DISA BILITIES ACT- TITLE IV

                                 Datto v.AIIDefendants

  67.Paragraphs 1 through 66 are incorporated by reference as if the sam e were set forth

     herein atIength.

  68.Plaintiffbringsforth thisclaim pursuantTitle IV ofthe ADA.

  69.Title IV ofthe ADA statesthat ''Inlo person shalldiscriminate againstany individual
     because such individualhasopposed any actorpractice m ade unlawfulby thischapteror

     because such individualm ade a charge,testified,assisted,orparticipated in any m anner

     inaninvestigation,proceeding,orhearingunderthischapter.''42U.S.C.j 12203(a).
  70.Plaintiff opposed discrim ination m ade unlawfulagainst him by this chapter by filing a

     claim in federalcourt under the ADA against Thom as Jefferson University's schoolof

     m edicine.

  71.Thom aslefferson University isa sisterAAM C m edicalschoolofthe University defendants.

  72.The University defendants are refusing adm ission to their m edicalschoolm ainly in part

     because he sued Thom asJefferson University.

  73.John Does 1 through 50 are unidentified persons responsible in deciding and enforcing

     thediscriminatory/retaliatoryactsagainstplaintiff.

     W HEREFORE,plaintiff,Jeffrey Peter Datto,PN.D.,requests judgm ent in his favor and

  againstaIIdefendants in an amount in excessof$75,000,punitive damages,reasonable
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  attorneyfees,Iitigationexpensesand costs,and anyotherrelief,including injunctive relief,
  thatthis Courtdeem s appropriate.

                          CO UNT VII- FLORIDA CIVIL RIGHTS ACT

                            Datto v.FIU.FSU.UF,UCF,and USF

  74.Paragraphs 1 through 73 are incorporated by reference as if the sam e w ere set forth

     herein at Iength.

  75.Plaintiffbringsforththisclaim pursuantFCRA,FLStatj760 etseq.

  76.The FL Stat 9 760.07 states ''Any violation of any Florida statute making unlawful

     discrim ination because of race,color,religion,gender, pregnancy, nationalorigin,age,

     handicap,or m aritalstatus in the areas of education,em ploym ent,housing,or public

     accom m odationsgives rise to a cause ofaction foraIIreliefand dam agesdescribed''

  77.FIU,FSU,UF,UCF,and USF are areasofeducation covered by the Act.

  78.FIU, FSU, UF,UCF, and USF violated this Act by discrim inating against plaintifffor the

     perceived disability Bipolar Disorder, holding against him the effects m edications

     prescribed to him to treat this disorder that caused plaintiff an actual docum ented

     disability,orforretaliatingagainstplaintiffforfiling a pastdisabilitydiscrim ination Iaw suit

     againstThom asJefferson University.

  79.FIU,FSU,UF,UCF,and USF also violated thisactby also holding againstplaintiff,atIeast

     inpart,hisageattime ofapplication(41y/o)andtheydidnotfeelhewouldfitinwith
     the m uch youngerstudentbody atthose Universities,w hich hisage in itselfw ould alw ays

     bring attention to plaintiff,and be a perceived distraction and unw anted addition.
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     W HEREFORE,plaintiff,Jeffrey PeterDatto,PN.D.,requestsjudgment in hisfavorand

  againstFIU,FSU,UF,UCF,and USF in an amountin excessof$75,000,punitive damages,
  reasonable attorney fees, litigation expenses and costs, and any other relief, including

  injunctive relief,thatthisCourtdeemsappropriate.




  Respectfully Subm itted,



        q!
                                                             Date:?/à,Jr
                                                                   .



  Jeffrey P.Datto,Ph.D.

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